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IN THE UN!TED STATES DISTRICT COURT
FOR THE S()UTHERN DISTRIC'I` OF TEXAS
H`()USTON DIVISI()N

MONIQUE BASSALINDA LEDET

Plaintiff,
v. Civil Action No. 4:15-cv-03428
1.,.IBERTY MUTUAL INSURANCE
C()MPA,NY, LIBERTY MUTUAL
FIRE INSLUANCE COMPANY

Defendant.

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§ JURY DEMANI)ED

 

JOINT MOTION FOR AGREED ORDER
OF D.{SMISSAL 'WlTH PREJUDICE

 

'TO THE HONORABLE IUDGE OF SAID COURT:

COME NOW, Def`endants, L,fBERTY MUTUA.L INSURANCE COMPANY
(improper!y joz‘rzed) and LIBERTY MUTUAL FIRE INSURANCE COMPANY
(“Det`endants"), and MON!QUE BASSAL!NDA LRDET, Plaintiff herein, fling this foim
Motion for Agreed Order of Dismissal With Prejudice, and in Support thereof would show the
Cour't as foHoWs:

I.

The parties have Sett.!ed afl issues and claims between them in this matter and Wish to

fufly and fmally dispose of this lawsuit

U.
Therefore, the parties desire that the C<)u,r'l Sign am Agreed Order of Dismissa! With

Prejudice which will fully and finally dispose of all ciaims and issues by and between the panies,

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and accordingly ask the Court to sign the attached “Agreed Order of Dismissal With I’rejudice"

and present it to the Clerk of Com“€ for entry

WHEREFORE, PREMIS`IES CONSI,DERED, Defendzmts, LIBERTY MUTUAL

lNSURANCE C()`:\"IPANY (z`mprop@r{;' joi)z€c{) amd LIBERTY MUTUAL FIRE

INSURANCE COMPANY (“Defendanfs”). and MONIQUE BASSALINDA L'EDET,

Plaintiff herein, pray this Com't grant their loith Mc>lion for Agreed Order Of Dismissai With

Prej malice and sign the attached Agreed Oyder <)t` Dismissal With Pz‘ejudice.

JMK:SLl,,fdb
2424{ 95

By:

Respectfully submitted,

SHEEHY, VVAR,E & PAPPAS, P.C.

fsi 3. Mzn'k Kressenber€

J. Mark Kressenberg

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ATTORNEYS FOR TH,E DEFENDANTS
LIBERTY MUTUAL INSURANCE COMPANY
AND LIBERTY MUTUAL FIRE INSURANCE
COMPANY

and,

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ATTORNEYS FOR PLAINTIFF MONIQUE
BASSALINDA LEDET

CERTIFICATE OF SERVICE

l hereby certify that 21 true and cone/ct copy of the above foregoing instrument has been
forwarded in accordance \§ith the Federal Rules of Civil Procedure on this the [Iiday of
lanuary, 2016 zo the following counsel of record:

losse S. Corona

Tm: Coz§o,\§§ LAW FzR;vI PL'LC
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J. Mark Kressenberg/‘Sophia L. L once la

L;J

